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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA

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                                                               :
JAMAL J. KIFAFI, individually and on behalf of :
all others similarly situated,                                 :
                                                               :
                           Plaintiff,                          :
                  v.                                           :     Civil Action No. 98-1517 (CKK)
                                                               :
                                                               :
HILTON HOTELS RETIREMENT PLAN,                                 :
et al.,                                                        :
                           Defendants.                         :
-------------------------------------------------------------- x

         [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION FOR A STAY
           PENDING APPEAL AND REQUEST FOR EXPEDITED TREATMENT

                 Upon consideration of Defendants’ Motion for a Stay Pending Appeal and Request

for Expedited Treatment, and all supporting papers, relevant authority regarding the issues raised in

the motion, the Court hereby GRANTS the motion.

                 IT IS HEREBY ORDERED:

        1.       Implementation of the Plan amendment approved by this Court in the November 23,

2011 order [Dkt #280] is stayed pending resolution of Defendants’ appeal to the Circuit Court of

Appeals for the District of Columbia;

        2.       Payment of new benefits to current or newly-vested Plan participants is stayed

pending resolution of Defendants’ appeal to the Circuit Court of Appeals for the District of

Columbia; and

        3.       Defendants are not required to post a bond to secure the above stay.

                 It is so ORDERED this ___ day of __________ 2011.

                                                               _____________________________
                                                               COLLEEN KOLLAR-KOTELLY
                                                               United States District Judge


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